      Case 1:16-cv-00840-EJD Document 93 Filed 04/10/19 Page 1 of 1




       In the United States Court of Federal Claims
                                        No. 16-840C
                                   (Filed: April 10, 2019)


************************************
                                              *
BITMANAGEMENT SOFTWARE                        *
GMBH,                                         *
                                              *
                      Plaintiff,              *
                                              *
              v.                              *
                                              *
THE UNITED STATES,                            *
                                              *
                      Defendant.              *
                                              *
************************************

                                         ORDER

       On March 13, 2019, the parties filed their respective Objections to Exhibits. See
ECF Nos. 65, 66. On March 28, 2019, the parties filed their respective responses. See
ECF Nos. 85, 86. On April 1, 2019, the parties filed their respective replies. See ECF
Nos. 87, 88.

      The Court’s ruling on the parties’ respective objections are attached. See
Attachment 1 (Court’s Ruling on Defendant’s Objections to Plaintiff’s Exhibits);
Attachment 2 (Court’s Ruling on Plaintiff’s Objections to Defendant’s Exhibits).

       IT IS SO ORDERED.


                                                             s/ Edward J. Damich
                                                             EDWARD J. DAMICH
                                                             Senior Judge
